      Case 1:20-cv-01225-PX Document 71-6 Filed 12/20/21 Page 1 of 2
                                                                                      EXHIBIT B

   NEW ANIMAL INFORMATION RECORD

ANIMAL INFO
ANIMALS NAME:                                           BIRTHbA'//AGE:   &/J
5PECIES/BREED:      i4-tn      &'tcai                   SEX:   (j   F UNKNOWN
COLOR/MARKINGS: 1a in
AVERAGE TEMPERATURE/CLIMATE USED TO:
TYPE OF ENVIRONMENT/CAGE:


TYPE OF FOOD, AMOUNT GIVEN, FREQUENCY:                )k/t5r46-


ANY SPECIAL CARE NEEDED: A/& RMV Nwcsr,J cS-

TEMPERMENT:    (kt-i3   -   /0 Z
                               )Afi 0(13;   P/AVRtc
ANY PREVIOUS ILLNESS/SHOTS/MEDICATION, AND IF SO, WHAT:



WAS ANIMAL KEPT ALONE OR WITH OTHER ANIMALS, IF SO WHAT:                   J( 7u1flJ Ot



ACQIuIS liON/HUMAN INFO
METHOD: SALE /DONATION /BIRTH /TRADE /LOAN RCUCDATE:
     NAME:
     ADDRESS:
     CITY/STATE/ZIP: C'cu-pius
     PHONE # (OPTIONAL):
     USDA # (IF APPLICABLE):          POZTEVrE 0t4E.0
     DRIVERS LICENSE #:                                                  STATE:
     VEHICLE LICENSE #:                                                  STATE:
TRANSPORTATION INFORMATION:
METHOD: CARRIER /INTERMEDIATE HANDLER 4fRTVATE VEHICL3
     NAME:   &3 @vibl /1tLTJt/fTi 2cc
DISPOSITION INFO                                        —

METHOD: SALE /DONATION /.1 A               TADE
                                        -, 4        /LJAN/ RELEASE DATE:          )Ia
                                                                                  f
     NAME:           2n4tL N LLll
     ADDRESS: \OVS 6tN' Lw#                 ,c?as
     CITY/STATE/ZIP: U
     USDA# (IF APPLICABLE):
     PHONE #(OPTIONAL): ?m- 7-)Y-o??t1(
TRANSPORTATION INFORMATION:
METHOD: CARRIER /INTERMEDIATE HANDLER /PRIVATE VEHICLE
     NAME:


        brE.b. CA#T)tl(-     VtZartE    At Zcc.     A€//ctMt1Mtc
       No N6CWY )°.w



                                             000490
      Case 1:20-cv-01225-PX Document 71-6 Filed 12/20/21 Page 2 of 2



  NEW ANIMAL INFORMATION RECORD

ANIMAL INFO
ANIMALS NAME:                                        BIRTHbAY/AGE: 'ill -6)
SPECIES/BREED:  R         E1                         SEX: (M) F UNKNOWN       kLtt1

COLOR/MARKINGS:
AVERAGE TEMPERAThRE1CLIMA1t USED TO: I
                                     k.'fl

TYPE OF ENVIRONMENT/CAGE:


TYPE OF FOOD, AMOUNT GIVEN, FREQUENCY:            n'cn--   (tflfl',1

ANY SPECIAL CARE NEEDED:

TEMPERMENT; _&ca
ANY PREVIOUS ILLNESS/SHOTS/MEDICATION, AND IF SO, WHAT:



WAS ANIMAL KEPT ALONE OR WITH OTHER ANIMALS, IF SO WHAT: 6(nk1



,4cQvIsrIoN/HUMAN INFO
METHOD: SALE /cpVtATIONY BIRTH /TRADE /LOAN fiSCUE_DATE:
     NAME:                                             "1

      ADDRESS:       i F                    Pci                  I
      CITY/STATE/ZIP: ta412fl1,I   r,?J7/O


      PHONE It (OPTIONAL):
      USDA It (IF APPLICABLE):
     DRIVERS LICENSE It:                               STATE:
     VEHICLE LICENSE It:                               STATE:
TRANSPORTATION INFORMATION:
METHOD: CARRIER /INTERMEDIATE HANDLER /PRIVATE VEHICLE
     NAME:
DISPOSITION INFO
METHOD: SALE /DONATION /LATH /TRADE / A /RELEASE DATE:
     NAME:    c'\LK2A ? a- (b.-c     W  -




      ADDRESS: \O\OS    (,-M'i   ,aft   )a4   C

     CITY/STATE/ZIP:           MTh
     USDAIt (IF APPLICABLE):
     PHONE # (OPTIONAL): 20 JR-2'j ')cYOô
TRANSPORTATION INFORMATION:
METHOD: CARRIER /INTERMEDIATE HANDLER /PRIVATE VEHICLE
     NAME:

                    A6'    (n)




                                            000485
